                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

 JOSEPH MOORE, on behalf of himself                )
 and all other similarly situated persons,         )
                                                   )
                         Plaintiffs
                                                   )
 v.                                                )      Case No. 6:21-cv-03212-BP
 WILSON LOGISTICS, INC.                            )
                                                   )
                         Defendant                 )

                                   CERTIFICATE OF SERVICE

        The undersigned counsel for Defendant, Wilson Logistics, Inc., hereby certifies

Defendant’s Supplemental Responses to Plaintiff’s Third Request for Production of Documents

and Defendant’s Supplemental Responses to Plaintiff’s Second Request for Production of

Documents were served via electronic mail on the on the 1st day of December, 2023 to Attorneys

for Plaintiff:

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                                                         Respectfully,

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FP 48927207.1
            Case 6:21-cv-03212-BP Document 94 Filed 12/01/23 Page 1 of 2
                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 1st of December, 2023, the foregoing was
served via the Court’s ECF system to:

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                                           /s/ James C. Sullivan
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                                             2
FP 48927207.1
            Case 6:21-cv-03212-BP Document 94 Filed 12/01/23 Page 2 of 2
